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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            OCALA DIVISION

 CHERYL WEIMAR,

       Plaintiffs,

 v.                                           CASE NO.: 5:19-cv-548-CEM-PRL

 THE FLORIDA DEPARTMENT OF
 CORRECTIONS, KEITH TURNER,
 and RYAN DIONNE,

      Defendants.
 ________________________________/

      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE AS TO
          DEFENDANTS KEITH TURNER AND RYAN DIONNE

       YOU ARE HEREBY NOTIFIED that the Parties, by and through their

 respective counsel, hereby stipulate pursuant to Rule 41(a)(1)(A)(ii) of the Federal

 Rules of Civil Procedure to the dismissal of this action with prejudice against

 Defendants, Keith Turner and Ryan Dionne, with each party to bear their own fees

 and costs.

       Respectfully Submitted on this 11th day of August, 2020.




                           [Signatures on following page]
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